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8                         UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No. CR 24-103-MWF
12                     Plaintiff,               ORDER GRANTING STIPULATION
                                                TO CONTINUE HEARING DATE ON
13         v.                                   DEFENDANT’S MOTION TO
                                                DISMISS
14   ROGER KEITH VER,
15                     Defendant.
16
17         The Court has reviewed the parties’ Stipulation to Continue Hearing Date on
18   Defendant’s Motion to Dismiss Case (the “Stipulation”). (Docket No. 47). For good
19   cause shown, the Stipulation is GRANTED. IT IS HEREBY ORDERED that the
20   hearing on Defendant Roger Keith Ver’s Motion to Dismiss Counts One Through
21   Eight of the Indictment (Docket No. 21) is CONTINUED from February 10, 2025, to
22   March 10, 2025, at 1:30 p.m.
23         IT IS SO ORDERED.
24
25   Dated: January 31, 2025              _____________________________________
                                          MICHAEL W. FITZGERALD
26
                                          United States District Judge
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